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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 7

OUR ALCHEMY, LLC, et al.1                                     Case No. 16-11596 (JTD)

                                    Debtors.                 (Jointly Administered)

             AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                 HEARING ON SEPTEMBER 21, 2022 AT 1:00 P.M. (ET)

              HEARING WILL BE IN PERSON 5TH FLOOR - COURTROOM NO. 5
                               AND ALSO VIA ZOOM

                                     You are invited to a ZoomGov meeting
                  TOPIC: Our Alchemy, LLC, Case No. 16-11596; Adv. No. 18-50633
                 When: September 21, 2022 at 1:00 p.m. Eastern Time (US and Canada)
          Hearing participants must register in advance for this hearing via the following link:
    https://debuscourts.zoomgov.com/meeting/register/vJIsd-ipqTItEk--loxrUWX1FBVqJD7Sn8M

                          COURTCALL WILL NOT BE USED FOR THIS HEARING



CONTESTED MATTERS GOING FORWARD:

1.     Oral Argument Regarding Trustee’s Motion for Entry of Bar Order and Sanctions for
       Violating the Automatic Stay Against the Usurping Banks filed by George L. Miller,
       Trustee
       [Filed 12/17/2021; Docket No. 957] [Adv. Docket No. 214] (Adv. No. 18-50633)

       Related Documents:           (a)   Proposed Order

                                    (b)   Order Granting Stipulation Between the Trustee and the
                                          Responding Lenders Regarding Streamlined Motion
                                          Procedures
                                          [Filed 5/13/2022; Docket No. 985] [ Adv. Docket No. 243]

                                    (c)   Order Scheduling Oral Argument
                                          [Filed 8/8/2022; Adv. Docket No. 256]



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    The Debtors are: Our Alchemy, LLC, Case No. 16-11596 and Anderson Digital, LLC, Case No. 16-11597.
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    Amended to include Zoom Hearing Link.
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     Objection Deadline:                  January 14, 2022 at 4:00 p.m.

     Responses Received: (d)              Defrauded Lenders’ Preliminary Objection to Trustee’s
                                          Motion for Entry of Bar Order and Sanctions for Violating
                                          the Automatic Stay
                                          [Filed 1/14/2022; Adv. Docket No. 220]

                                    (e)   Declaration of Victor Noskov in Support of Defrauded
                                          Lenders’ Preliminary Objection to Trustee’s Motion for
                                          Entry of Bar Order and Sanctions for Violating the
                                          Automatic Stay
                                          [Filed 1/14/2022; Adv. Docket No. 221]

                                    (f)   Virgo Parties (A) Partial Joinder to Trustee’s Motion for
                                          Entry of Bar Order and Sanctions for Violating the
                                          Automatic Stay Against the Usurping Banks; and (B)
                                          Response to the Usurping Bank’s Preliminary Objection to
                                          Trustee’s Motion for Entry of Bar Order and Sanctions for
                                          Violating the Automatic Stay
                                          [Filed 5/11/2022; Docket No. 982] [Adv. Docket No. 239]

                                    (g)   Declaration of Andrea L. Kim in Support of Virgo Parties
                                          (A) Partial Joinder to Trustee’s Motion for Entry of Bar
                                          Order and Sanctions for Violating the Automatic Stay
                                          Against the Usurping Banks; and (B) Response to the
                                          Usurping Banks’ Preliminary Objection to Trustee’s Motion
                                          for Entry of Bar Order And Sanctions for Violating the
                                          Automatic Stay
                                          [Filed 5/11/2022; Docket No. 983] [Adv. Docket No. 240]

                                    (h)   Trustee’s Opening Brief in Support of Motion for Entry of
                                          Bar Order Against the Usurping Banks
                                          [Filed 6/16/2022; Docket No. 990] [Adv. Docket No. 247]

                                    (i)   Defrauded Lenders’ Opening Brief in Opposition to
                                          Trustee’s Motion for Entry of Bar Order and Sanctions for
                                          Violating the Automatic Stay
                                          [Filed 6/16/2022; Docket No. 991] [Adv. Docket No. 248]

                                    (j)   Declaration of Victor Noskov in Support of Defrauded
                                          Lenders' Opening Brief in Opposition to Trustee's Motion for
                                          Entry of Bar Order and Sanctions for Violating the
                                          Automatic Stay
                                          [Filed 6/16/2022; Docket No. 992] [Adv. Docket No. 249]



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                                    (k)   Trustee’s Reply Brief in Further Support of Motion for Entry
                                          of Bar Order Against the Usurping Banks
                                          Filed 6/30/2022; Docket No. 994] [ Adv. Docket No. 250]

                                    (l)   Defrauded Lenders’ Reply Brief in Opposition to Trustee’s
                                          Opening Brief in Support of the Trustee’s Bar Motion
                                          [Filed 6/30/2022; Docket No. 995] [Adv. Docket No. 251]

                                    (m)   Declaration of Victor Noskov in Support of Defrauded
                                          Lenders’ Reply Brief in Opposition to Trustee’s Opening
                                          Brief in Support of the Trustee’s Bar Motion
                                          [Filed 6/30/2022; Docket No. 996] [Adv. Docket No. 252]

                                    (n)   Virgo Parties’ Reply to the Usurping Banks’ Opening Brief
                                          in Opposition to Trustee's Motion for Entry of Bar Order and
                                          Sanctions for Violating the Automatic Stay
                                          [Filed 6/30/2022; Docket No. 997] [ Adv. Docket No. 253]

                                    (o)   Notice of Completion of Briefing Regarding Trustee’s
                                          Motion for Entry of Bar Order and Sanctions for Violating
                                          the Automatic Stay Against the Usurping Banks
                                          [Filed 7/14/2022; Docket No. 1001] [ Adv. Docket No. 254]

     Status:                              This matter is going forward.


Dated: September 19, 2022                                        COZEN O’CONNOR
Wilmington, DE
                                                                 /s/ John T. Carroll, III
                                                           By:
                                                                 John T. Carroll, III (DE No. 4060)
                                                                 1201 N. Market Street
                                                                 Suite 1001
                                                                 Wilmington, DE 19801
                                                                 (302) 295-2028 Phone
                                                                 (302) 295-2013 Fax No.
                                                                 jcarroll@cozen.com

                                                                 Counsel to George L. Miller,
                                                                 Chapter 7 Trustee




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